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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                :
                                        : CASE NO. 24-cr-424 (ACR)
     v.                                 :
                                        :
ANDREW MILLARD,                         :
                                        :
          Defendant.                    :
    DEFENDANT MILLARD’S MOTION TO LIFT PROTECTIVE
                       ORDER
     COMES NOW the Defendant Andrew Millard with this Motion

to lift the protective order in this case (Document 9-1 Filed

08/09/24), for reasons described below.

                              Introduction.

     Since the beginning of January 6 investigations, the DOJ has

defined and framed the narrative of January 6 as a violent “attack”

on the Capitol, the Congress, on law enforcement, or even on

democracy itself. In every January 6 case (including this case), the

government filed motions for protective orders before any defendant

was able to view case discovery. In every January 6 case which

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came close to proceeding to trial, the government filed further

motions in limine which precluded defendants from introducing any

evidence which (1) showed misconduct by law enforcement, (2)

supported any argument of entrapment, (3) supported any

argument by a J6 defendant of self defense, and (4) supported the

application of the 1st amendment.

     It is analogous to a case where desegregation demonstrators

who performed sit-ins at Woolworth lunch counters in the 1960s

were accused of “attacking” the lunch counters or Woolworth staff

while being precluded from asserting the 1st amendment or showing

evidence of actual events.

     Millard and other defendants, and journalists and researchers

and the public as a whole, have a right to examine and publish this

footage, evidence and discovery. The vast majority—perhaps almost

the entirety—of camera footage, film and photos collected in these

discovery databases do not concern any locations of the Capitol

which are off-limits to the public. Indeed millions of tourists have

seen and been in the hallways and areas.

                              Legal standard.

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     The public and press have a presumptive First Amendment

right of access to judicial proceedings in criminal cases, finding that

“a presumption of openness inheres in the very nature of a criminal

trial under our system of justice.” Richmond Newspapers, Inc. v.

Virginia, 448 U.S. 555, 573 (1980) (plurality opinion). The U.S.

Supreme Court has repeatedly held that the public’s right to open

court proceedings is protected by the First Amendment. See id.;

Globe Newspaper Co. v. Superior Court, 457 U.S. 596 (1982); Press

Enterprise Co. v. Superior Court, 478 U.S. 1, 9, 10 (1986). See also

Jackson Nat’l Life Ins. Co., 944 F. Supp. 488 (S.D. Miss. 1995), aff’d

sub nom., Deramus v. Jackson Nat’l Life Ins. Co., 92 F.3d 274 (5th

Cir. 1996) (referring to a constitutionally-embedded presumption of

openness in judicial proceedings).

     There is also a constitutional right of access to court records,

because “the public and press have a [F]irst [A]mendment right of

access to pretrial documents in general.” Associated Press v. District

Court, 705 F.2d 1143, 1145 (9th Cir. 1983).

     The public’s right to access judicial proceedings and records

originated in English common law. Gannett Co. v. DePasquale, 443


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U.S. 368, 414 (1979)) (stating that this right has had “seemingly

universal recognition in this country since the earliest times”). The

U.S. Supreme Court has recognized a common law right of access

to “judicial records and documents.” Nixon v. Warner Commc'ns,

Inc., 435 U.S. 589, 597 (1978).

The public’s right to democratic accountability and openness.


     The roots of public access to court proceedings and records lie

in “democratic values of accountability and openness.” In re Globe

Newspaper, 920 F.2d 88, 98 (1st Cir. 1990) (“[T]he prospect of

criminal justice being routinely meted out by unknown persons

does not comport with democratic values of accountability and

openness.”). The public has a right to a “full understanding” of

criminal proceedings, thereby placing the populace in a position “to

serve as an effective check on the system.” In re Providence Journal

Co., 293 F.3d 1, 10 (1st Cir. 2002). “[P]ublic monitoring of the

judicial system fosters the important values of quality, honesty and

respect for our legal system.’” Id. at 9; see also Siedle v. Putnam

Inv., Inc., 147 F.3d 7, 10 (1st Cir. 1998) (same).




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     “The appropriateness of making court files accessible is

accentuated in cases where the government is a party: in such

circumstances, the public’s right to know what the executive

branch is about coalesces with the concomitant right of the

citizenry to appraise the judicial branch.” FTC v. Standard Fin.

Mgmt. Corp., 830 F.2d 404, 410 (1st Cir. 1987); Lugosch, 435 F.3d

at 119 (2nd Cir.).

     Few cases could be more crucial for publication of all court

files and records than Millard’s case, and January 6 cases in

general. January 6 cases are famously political, and President

Trump has called the prosecutions a “grave national injustice.”

Accordingly, the public’s interest is even more accentuated than in

other types of case.

     The “policy of openness in judicial proceedings” “promotes

public confidence in the courts.” Applications of Nat’l Broad. Co.,

828 F.2d 340, 343, 347 (6th Cir. 1987) (citing Brown & Williamson

Tobacco Corp. v. FTC, 710 F.2d 1165, 1176–81 (6th Cir. 1983)).


The DC Circuit originated the right of access to court-related
records.



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     The roots of the rights of access has been traced back to the

19th Century when the D.C. Circuit explained that “[a]ny attempt to

maintain secrecy, as to the records of this court, would seem to be

inconsistent with the common understanding of what belongs to a

public court of record, to which all persons have the right of

access.” In re Knoxville News-Sentinel Co., 723 F.2d 470, (6th Cir.

1983) (quoting Ex Parte Drawbaugh, 2 App. D.C. 404, 407 (1894)).


Further support is found in recent disclosures of Special
Counsel January 6 Reports.



     This interest in transparency and public interest has already

been registered by courts in this jurisdiction. Recently, Special

Counsel Jack Smith’s Special Report on January 6 was released

(over President Trump’s objection). This is consistent with growing

awareness that the public has a right to be aware of the full

contours of the evidence regarding January 6.




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WHEREFORE, defendant requests that this Court:
        1. Lift its protective order, and
        2. Order that the government’s discovery databases
           Evidence.com and Relativity be maintained and all
           footage on Evidence.com made available to the public, for
           present and future research and transparency.
Date: March 17, 2025


                               Respectfully Submitted,


                                                               /s/ Roger I. Roots
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                                                          Attorney for Defendants


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                         CERTIFICATE OF SERVICE

      I, Roger I. Roots, hereby certify that on this day, March 17, 2025, I caused a

copy of the foregoing document to be served on all counsel through the Court’s

CM/ECF case filing system.



                                                                  /s/ Roger I. Roots
                                                                      Roger I. Roots




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